Case 3:14-cv-04735-VC Document 54-2

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Filed 03/01/18 Page 1 of 4

Attorneys for Non-Parties Accuracy Consulting Ltd. and Bitseller Expert Limited

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

JOHN HUEBNER and IRMIN LANGTON, on
behalf of themselves and other similarly situated,

Plaintiffs,
VS.

RADARIS, LLC, a Massachusetts limited
liability company;

RADARIS AMERICA, INC., a Delaware
corporation; and

EDGAR LOPIN, an individual,

Defendants.

Case No. 3:14-cv-04735-VC

[Assigned to the Honorable Vince
Chhabria]

DECLARATION OF BITSELLER
EXPERT LIMITED IN SUPPORT OF
EMERGENCY MOTION FOR
RELIEF FROM DEFAULT
JUDGMENT

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Bitseller Declaration i/s/o Emergency Motion for Relief — 3:14-cv-04735-VC

Case 3:14-cv-04735-VC Document 54-2 Filed 03/01/18 Page 2 of 4

Declaration of Eugene Lazarev on Behalf of Bitseller Expert Limited

I, Eugene Lazarev, on behalf of Bitseller Expert Limited, declare as follows:

1. My name is Eugene Lazarev. I am over the age of eighteen. I am the Managing
Director of Bitseller Expert Limited (“Bitseller”), which is a company organized in and under the
laws of the Republic of Cyprus. I make this declaration based upon personal knowledge, my
consultation with Bitseller personnel and associates and my review of Bitseller records. All
statements contained in this declaration are true and correct to the best of my knowledge. If
called as a witness, I could and would testify as to the facts set forth in this declaration.

2. Since before October 24, 2014 through the end of February 2018 when the
radaris.com website was taken down, the radaris.com website was operated by Bitseller.

3. This fact was clearly indicated on the Terms of Use for the website, which has
stated at all relevant times the following: “OPERATING COMPANY: Radaris is operated by
Bitseller Expert LIMITED, Nicosia Cyprus.”

4. Since before October 23, 2014 through February 2018 when the domain name
was taken away, the radaris.com domain name was registered to Accuracy Consulting Ltd.

5. This fact was clearly visible to anyone who would perform a Whols record search
for the website, which is a publicly available service.

6. Radaris, LLC has never been an owner or operator of the radaris.com website.
Radaris, LLC has never been the registrant of the radaris.com domain name.

7. Radaris America, Inc. has never been an owner or operator of the radaris.com
website. Radaris America, Inc. has never been the registrant of the radaris.com domain name.

8. Edgar Lopin has never run or operated the radaris.com website. Edgar Lopin has

never been the registrant of the radaris.com domain name.

2
Bitseller Declaration i/s/o Emergency Motion for Relief — 3:14-cv-04735-VC

Case 3:14-cv-04735-VC Document 54-2 Filed 03/01/18 Page 3 of 4

9. As was clearly stated on the Terms of Use for the radaris.com website, Radaris
America, Inc. only acted in a public relations capacity for the radaris.com website in the United
States.

10. On or about February 26, 2018, Bitseller lost control of the website at radaris.com
because the domain name began pointing to another website.

11. | Asaresult of the domain name pointing to another website, Bitseller and
Accuracy have suffered staggering losses to their businesses and reputations, and continue to
suffer such damages as long as Accuracy and Bitseller do not have control over the radaris.com

domain name and the website at radaris.com.

3
Bitseller Declaration i1/s/o Emergency Motion for Relief — 3:14-cv-04735-VC

6

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Case 3:14-cv-04735-VC Document 54-2 Filed 03/01/18 Page 4 of 4
[ declare under penalty of perjury that the foregoing facts are true and correct.

Executed on February 28, 2018 at Nicosia, Cyprus.

Eugene Lazarev
On behalf of
Bitseller Expert Limited

4
Bitseller Declaration 1/s/o Emergency Motion for Relief ~ 3:14-cv-04735-VC

